                                           Case 1:17-cv-00004-RMI Document 33 Filed 02/14/18 Page 1 of 9




                                   1

                                   2

                                   3

                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6                                            EUREKA DIVISION

                                   7

                                   8     JODI MARIE COOK,                                     Case No. 17-cv-00004-RMI
                                   9                     Plaintiff,
                                                                                              ORDER ON CROSS MOTIONS FOR
                                  10              v.                                          SUMMARY JUDGMENT
                                  11     NANCY A. BERRYHILL,                                  Re: Dkt. Nos. 19, 26
                                  12                     Defendant.
Northern District of California
 United States District Court




                                  13

                                  14           Plaintiff, Jodie Marie Cook, seeks judicial review of an administrative law judge (“ALJ”)

                                  15   decision denying her application for disability insurance benefits and supplemental security

                                  16   income under Titles II and XVI of the Social Security Act. Plaintiff’s request for review of the

                                  17   ALJ’s unfavorable decision was denied by the Appeals Council. The ALJ’s decision is therefore

                                  18   the “final decision” of the Commissioner of Social Security, which this court may review. See 42

                                  19   U.S.C. §§ 405(g), 1383(c)(3). Both parties have consented to the jurisdiction of a magistrate judge

                                  20   (Docs. 5 & 7), and both parties have moved for summary judgment (Docs. 19 & 26). For the

                                  21   reasons stated below, the court will grant Plaintiff’s motion for summary judgment, and will deny

                                  22   Defendant’s motion for summary judgment.

                                  23                                          LEGAL STANDARDS

                                  24           The Commissioner’s findings “as to any fact, if supported by substantial evidence, shall be

                                  25   conclusive.” 42 U.S.C. § 405(g). A district court has a limited scope of review and can only set

                                  26   aside a denial of benefits if it is not supported by substantial evidence or if it is based on legal

                                  27   error. Flaten v. Sec’y of Health & Human Servs., 44 F.3d 1453, 1457 (9th Cir. 1995). Substantial

                                  28   evidence is “more than a mere scintilla but less than a preponderance; it is such relevant evidence
                                           Case 1:17-cv-00004-RMI Document 33 Filed 02/14/18 Page 2 of 9




                                   1   as a reasonable mind might accept as adequate to support a conclusion.” Sandgathe v. Chater, 108

                                   2   F.3d 978, 979 (9th Cir. 1997). “In determining whether the Commissioner’s findings are

                                   3   supported by substantial evidence,” a district court must review the administrative record as a

                                   4   whole, considering “both the evidence that supports and the evidence that detracts from the

                                   5   Commissioner’s conclusion.” Reddick v. Chater, 157 F.3d 715, 720 (9th Cir. 1998). The

                                   6   Commissioner’s conclusion is upheld where evidence is susceptible to more than one rational

                                   7   interpretation. Burch v. Barnhart, 400 F.3d 676, 679 (9th Cir. 2005).

                                   8                                      PROCEDURAL HISTORY

                                   9          In February and June of 2013, Plaintiff filed applications for benefits under Titles II and

                                  10   XVI, alleging an onset date of July 1, 2012. (See Doc. 19 at 2; Doc. 26 at 2). The ALJ denied the

                                  11   applications on June 3, 2015 (Doc. 14, Administrative Record “AR” at 61), and the Appeals

                                  12   Council denied Plaintiff’s request for review on November 4, 2016 (AR at 2-7).
Northern District of California
 United States District Court




                                  13                           SUMMARY OF THE RELEVANT EVIDENCE

                                  14          Plaintiff alleges that she suffers from the following impairments: vertigo, fibromyalgia,

                                  15   anxiety disorder (with agoraphobia), depressive disorder, temporomandibular joint (“TMJ”)

                                  16   syndrome, neck pain, glandular swelling in her neck, fatigue, myalgia, and myositis. (Doc. 19 at

                                  17   3). The ALJ determined that Plaintiff’s fibromyalgia, anxiety disorder (with agoraphobia), and her

                                  18   depressive disorder were all severe. (AR at 48-49).

                                  19          Plaintiff’s Identification of Vertigo as an Impairment:

                                  20          Plaintiff’s pre-hearing brief (dated January 12, 2015) identified and listed a diagnostic

                                  21   history of her various impairments, while also making specific references to associated medical

                                  22   records. (See generally AR at 344-46). In her pre-hearing brief, Plaintiff specifically noted that her

                                  23   history of dizziness had been diagnosed as vertigo in July of 2011, and that she had sought

                                  24   treatment again for it in November of 2014. (Id.).

                                  25          Medical Evidence of Vertigo:

                                  26          In July of 2011, Plaintiff was treated for vertigo by her primary care physicians at the

                                  27   Fortuna Family Medical Group (“FFMG”). (AR at 367-68). Plaintiff sought treatment on this

                                  28   occasion due to the reemergence of episodes of dizziness, which were lasting as long as 30
                                                                                         2
                                           Case 1:17-cv-00004-RMI Document 33 Filed 02/14/18 Page 3 of 9




                                   1   minutes, which had a history dating back to a 1997 vertigo diagnosis, and which were now

                                   2   causing her “to feel as though the floor was wavy or uneven.” (AR at 367). The treating

                                   3   physician’s assessment was benign positional vertigo. (Id.). Throughout 2012, Plaintiff was still

                                   4   complaining of dizziness, for which her treating physician contemplated a neurology referral. (AR

                                   5   at 364, 371). Three months later, Plaintiff was treated again at FFMG for episodes of dizziness,

                                   6   “causing a spinning sensation,” and lasting as long as 30 minutes; this time, her treating

                                   7   physician’s diagnosis was central origin vertigo. (AR at 362).

                                   8           During the course of 2013, Plaintiff was treated for a popping sensation in her ears (AR at

                                   9   353), and for her recurrent episodes of dizziness and vertigo (AR at 454). The following year, in

                                  10   November of 2014, Plaintiff was again treated for her dizziness and vertigo (AR at 477-78). In

                                  11   April of 2015, Plaintiff was yet again treated for vertigo by her primary care physicians, reporting

                                  12   that her symptoms during this episode had been constant and acute for several days, rather than
Northern District of California
 United States District Court




                                  13   lasting only up to 30 minutes per episode. (AR at 528-29). On this occasion, the treating

                                  14   physician’s progress notes reflected a diagnosis of either peripheral or central origin vertigo, as

                                  15   well as a planned referral to a specialist. (Id.).

                                  16           THE FIVE STEP SEQUENTIAL ANALYSIS FOR DETERMINING DISABILITY

                                  17           A person filing a claim for social security disability benefits (“the claimant”) must show

                                  18   that she has the “inability to do any substantial gainful activity by reason of any medically

                                  19   determinable physical or mental impairment” which has lasted or is expected to last for twelve or

                                  20   more months. See 20 C.F.R. §§ 416.920(a)(4)(ii), 416.909.1 The ALJ must consider all evidence in

                                  21   the claimant’s case record to determine disability (see id. § 416.920(a)(3)), and must use a five-

                                  22   step sequential evaluation process to determine whether the claimant is disabled (see id. §

                                  23   416.920). “[T]he ALJ has a special duty to fully and fairly develop the record and to assure that

                                  24   the claimant’s interests are considered.” Brown v. Heckler, 713 F.2d 441, 443 (9th Cir. 1983).

                                  25           Here, the ALJ evaluated Plaintiff’s application for benefits under the required five-step

                                  26

                                  27   1
                                        The regulations for supplemental security income (Title XVI) and disability insurance benefits
                                  28   (Title II) are virtually identical though found in different sections of the CFR. For the sake of
                                       convenience, the court will only cite to the SSI regulations herein unless noted otherwise.
                                                                                           3
                                           Case 1:17-cv-00004-RMI Document 33 Filed 02/14/18 Page 4 of 9




                                   1   sequential evaluation. (See AR at 47-60).

                                   2          At Step One, the claimant bears the burden of showing she has not been engaged in

                                   3   “substantial gainful activity” since the alleged date the claimant became disabled. See 20 C.F.R. §

                                   4   416.920(b). If the claimant has worked and the work is found to be substantial gainful activity, the

                                   5   claimant will be found not disabled. See id. The ALJ found that Plaintiff had not engaged in

                                   6   substantial gainful activity since her alleged onset date. (AR at 48).

                                   7          At Step Two, the claimant bears the burden of showing that she has a medically severe

                                   8   impairment or combination of impairments. See 20 C.F.R. § 416.920(a)(4)(ii), (c). “An

                                   9   impairment is not severe if it is merely ‘a slight abnormality (or combination of slight

                                  10   abnormalities) that has no more than a minimal effect on the ability to do basic work activities.’”

                                  11   Webb v. Barnhart, 433 F.3d 683, 686 (9th Cir. 2005) (quoting S.S.R. No. 96–3(p) (1996)). The

                                  12   ALJ found that Plaintiff suffered from the following severe impairments: fibromyalgia, anxiety
Northern District of California
 United States District Court




                                  13   disorder with agoraphobia, and depressive disorder. (AR at 48-49). The ALJ also found that

                                  14   Plaintiff suffered the following medically determinable, but non-severe, impairments: borderline

                                  15   personality disorder, and headaches. (AR at 49). Finally, the ALJ found that Plaintiff’s alleged

                                  16   connective tissue disorder had not been medically determined. (Id.).

                                  17          At Step Three, the ALJ compares the claimant’s impairments to the impairments listed in

                                  18   appendix 1 to subpart P of part 404. See 20 C.F.R. § 416.920(a)(4)(iii), (d). The claimant bears the

                                  19   burden of showing her impairments meet or equal an impairment in the listing. Id. If the claimant

                                  20   is successful, a disability is presumed and benefits are awarded. Id. If the claimant is unsuccessful,

                                  21   the ALJ assesses the claimant’s residual functional capacity (“RFC”) and proceeds to Step Four.

                                  22   See id. § 416.920(a)(4)(iv), (e). Here, the ALJ found that Plaintiff did not have an impairment or

                                  23   combination of impairments that met or medically equaled one of the listed impairments. (AR at

                                  24   49-51). Next, the ALJ determined that Plaintiff retained the RFC “to perform medium work” with

                                  25   several physical and environmental limitations. (AR at 51-58).

                                  26          At Step Four, the ALJ determined that Plaintiff is unable to perform her past relevant work

                                  27   as a children’s attendant. (AR at 58).

                                  28          At Step Five, the ALJ concluded that based on the testimony of the VE, and the ALJ’s
                                                                                         4
                                           Case 1:17-cv-00004-RMI Document 33 Filed 02/14/18 Page 5 of 9




                                   1   formulation of the RFC, that Plaintiff was capable of making a successful adjustment to work that

                                   2   existed in significant numbers in the national economy; and thus, the ALJ found that Plaintiff had

                                   3   not been under a disability, as defined in the Social Security Act, from July 1, 2012, through the

                                   4   date of the decision. (AR at 58-60).

                                   5                                          ISSUESS PRESENTED

                                   6          Plaintiff presents three issues for review. The first assigns error to the ALJ’s analysis and

                                   7   evaluation of Plaintiff’s fibromyalgia at Step Three and beyond. Plaintiff’s second issue assigns

                                   8   error to the ALJ’s formulation of the RFC by giving inadequate weight to the opinions of

                                   9   Plaintiff’s treating physicians. Plaintiff’s third issue assigns error to the ALJ’s failure to render any

                                  10   analysis at all under Step Two regarding Plaintiff’s vertigo.

                                  11                                               DISCUSSION

                                  12          In her third issue, Plaintiff contends that the ALJ erred at Step Two by failing to evaluate
Northern District of California
 United States District Court




                                  13   the medical severity of Plaintiff’s vertigo. As stated above, following the sequential evaluation

                                  14   process, after making a Step Two determination about the medical severity of one or more

                                  15   impairments, the ALJ proceeds to Step Three where the claimant’s impairments are compared to

                                  16   those listed in appendix 1 to subpart P of part 404. If the claimant is unable to bear the burden of

                                  17   showing that her impairments meet or equal an impairment in the listing, the ALJ assesses and

                                  18   formulates the claimant’s RFC and proceeds to Step Four. Because the court finds error at Step

                                  19   Two, warranting remand, the court does not find it necessary to address Plaintiff’s arguments

                                  20   pertaining to the ALJ’s Step Three analysis, or the arguments pertaining to the formulation of the

                                  21   RFC.

                                  22          Plaintiff argues that the ALJ decision failed to even mention her vertigo, let alone evaluate

                                  23   the condition under Step Two for medical determinability and severity. Pl.’s Mot. (Doc. 19) at 10-

                                  24   12. Defendant does not expressly concede this assertion of fact, but does not appear to dispute it

                                  25   either. See Def.’s Mot. (Doc. 26) at 13-15. Instead, Defendant’s response to this claim is two-fold.

                                  26   First, Defendant raises waiver as a defense, claiming that “Plaintiff never listed vertigo as an

                                  27   impairment in her application or in her briefs . . . [and has therefore] waived the right to address

                                  28   any new disabling symptoms because he (sic) did not raise it in the administrative proceedings.”
                                                                                          5
                                           Case 1:17-cv-00004-RMI Document 33 Filed 02/14/18 Page 6 of 9




                                   1   (Id. at 13). Second, Defendant argues that Plaintiff’s vertigo is somehow retrospectively non-

                                   2   severe. (Id. at 13-14). Plaintiff replies to the effect that vertigo was indeed raised as an impairment

                                   3   before the ALJ, and that in any event, “the medical record is replete with references [thereto].”

                                   4   Pl.’s Resp. (Doc. 32) at 4-5.

                                   5           The court has carefully reviewed the ALJ’s decision and finds that the ALJ failed to

                                   6   mention or analyze Plaintiff’s vertigo at Step Two. (See AR at 48-49). Indeed, a close reading of

                                   7   the entirety of the ALJ’s decision yields no instance in which the word vertigo is used. (See AR at

                                   8   46-60). In the course of explaining the RFC (which included occasional climbing, balancing,

                                   9   stooping, kneeling, crouching, and crawling), the ALJ made an effort to summarize Plaintiff’s

                                  10   medical records (see AR at 51-58); in the course of which, the ALJ made a single reference to the

                                  11   fact that in June of 2013, Plaintiff was treated at the emergency room at Redwood Memorial

                                  12   Hospital for “complaints of dizziness.” (AR at 52). Thus, the court finds that the ALJ did not
Northern District of California
 United States District Court




                                  13   consider Plaintiff’s vertigo at Step Two or beyond.

                                  14           Turning to Defendant’s waiver defense, the Commissioner claims that Plaintiff waived the

                                  15   right to assert the error in this court due to the notion that “Plaintiff never listed vertigo as an

                                  16   impairment in her application or in her briefs.” Def.’s Mot. (Doc. 26) at 13. Defendant cites

                                  17   several cases in support of the contention that Plaintiff waived the right to challenge the ALJ’s

                                  18   failure to consider vertigo at Step Two by not raising the issue properly. The first of those cases is

                                  19   the decision in Harshaw v. Colvin, 616 F. Appx. 316, 316 (9th Cir. 2015). There, the court found

                                  20   that the appellant had waived a Step Two issue by raising it for the first time before the district

                                  21   court, and that the existence of some evidence in the medical records regarding those conditions

                                  22   was not sufficient to have put the ALJ and the Appeals Council on notice that that the conditions

                                  23   constituted impairments. Id. at 116.

                                  24           Defendant also relies on Meanel v. Apfel, 172 F.3d 1111, 1114-1115 (9th Cir. 1999), for a

                                  25   finding of waiver in this case. In Meanel, a vocational expert found that a particular job existed in

                                  26   particular numbers in the national economy, and the appellant produced new and contradictory

                                  27   statistics in district court that she admittedly failed to raise at both her hearing before the ALJ and

                                  28   to the Appeals Council. Id. at 1115. Thus, Meanel held that litigants must raise issues at their
                                                                                           6
                                           Case 1:17-cv-00004-RMI Document 33 Filed 02/14/18 Page 7 of 9




                                   1   administrative hearings in order to preserve them for federal court review. Id. However, Meanel

                                   2   was called into question when the Supreme Court subsequently held that a “judicially created

                                   3   issue-exhaustion requirement is inappropriate” in Social Security cases because the reasons for

                                   4   applying this requirement are much weaker in these types of cases. Sims v. Apfel, 530 U.S. 103,

                                   5   112 (2000) (“Claimants who exhaust administrative remedies need not also exhaust issues in a

                                   6   request for review by the Appeals Council in order to preserve judicial review of those issues.”).

                                   7   Thus, since Sims, some appellate courts have held that claimants “need not preserve issues in

                                   8   proceedings before the Commissioner or her delegates.” Hackett v. Barnhart, 395 F.3d 1168, 1176

                                   9   (10th Cir. 2005) (reversing ALJ’s decision on basis of apparent DOT conflict even though

                                  10   claimant did not raise the issue until the district court proceeding that commenced two years after

                                  11   the ALJ hearing) (citing Sims, 530 U.S. at 112).

                                  12          Recently, the Court of Appeals for the Ninth Circuit reconciled its decision in Meanel
Northern District of California
 United States District Court




                                  13   (claimants must raise all issues at administrative hearings to preserve them for appeal) with the

                                  14   Supreme Court’s decision in Sims (claimants need not exhaust issues in a request for review by the

                                  15   Appeals Council in order to preserve judicial review of those issues). In Shaibi v. Berryhill, 870

                                  16   F.3d 874, 882 (9th Cir. 2017), the court found that the Meanel waiver doctrine could still be

                                  17   applied to issues not raised during proceedings before an ALJ or the Appeals Council, specifically,

                                  18   where the claimant did not show good cause for a failure to challenge a vocational expert’s job

                                  19   numbers during the hearing, and where there was no indication that the ALJ was required to

                                  20   inquire sua sponte into the foundation for that opinion on job numbers. Id.

                                  21          The instant case is distinguishable from those relied upon by the Commissioner primarily

                                  22   because, as Plaintiff notes, the issue of her vertigo was in fact raised sufficiently to put the ALJ on

                                  23   notice that vertigo was a medically determined condition from which she suffered. As mentioned

                                  24   above, Plaintiff’s pre-hearing brief before the ALJ clearly identified and listed a diagnostic history

                                  25   of her various impairments, while also making specific references to associated medical records.

                                  26   (See generally AR at 344-46). In her pre-hearing brief, Plaintiff specifically and explicitly noted

                                  27   that her history of dizziness had been diagnosed as vertigo in July of 2011, and that she had sought

                                  28   treatment again for it in November of 2014. (Id.). The court finds that Plaintiff sufficiently raised
                                                                                          7
                                           Case 1:17-cv-00004-RMI Document 33 Filed 02/14/18 Page 8 of 9




                                   1   the issue of vertigo in her pre-hearing briefing to the ALJ in order to trigger an analysis under Step

                                   2   Two, and at subsequent steps if necessary. Thus, because the issue of vertigo was specifically

                                   3   raised in Plaintiff’s briefing to the ALJ, the court finds no merit in the Commissioner’s assertion

                                   4   of waiver.

                                   5          Defendant’s second defense of the ALJ’s failure to consider Plaintiff’s vertigo at Step Two

                                   6   appears to be a contention that, in any event, Plaintiff’s vertigo retrospectively is not severe. (Doc.

                                   7   26 at 13-14). This argument is likewise without merit because it essentially asks this court to

                                   8   substitute its own judgment and analysis for that which was never rendered by the ALJ.

                                   9   Furthermore, the Commissioner’s request cannot be reconciled with binding precedent requiring

                                  10   the ALJ to fulfill a special duty to fully and fairly develop the record and to assure that the

                                  11   claimant’s interests are considered, “even when the claimant is represented by counsel.” See

                                  12   Brown v. Heckler, 713 F.2d 441, 443 (9th Cir. 1983); see also Celaya v. Halter, 332 F.3d 1177,
Northern District of California
 United States District Court




                                  13   1183 (9th Cir. 2003); Tonapetyan v. Halter, 242 F.3d 1144, 1150 (9th Cir. 2001); and, Smolen v.

                                  14   Chater, 80 F.3d 1273, 1288 (9th Cir. 1996).

                                  15          “An impairment is not severe if it is merely ‘a slight abnormality (or combination of slight

                                  16   abnormalities) that has no more than a minimal effect on the ability to do basic work activities.’

                                  17   S.S.R. No. 96–3(p) (1996).” Webb, 433 F.3d at 686. “An impairment or combination of

                                  18   impairments may be found not severe only if the evidence establishes a slight abnormality that has

                                  19   no more than a minimal effect on an individual’s ability to work.” Id. (internal citation omitted)

                                  20   (emphasis in original). Step Two then, is “a de minimis screening device [used] to dispose of

                                  21   groundless claims.” Id. at 687 (internal quotation omitted).

                                  22          As mentioned above, because the ALJ decision made no mention whatsoever of Plaintiff’s

                                  23   above-described vertigo in its Step Two analysis, it can only be said that this impairment was not

                                  24   considered at all. The court, therefore, finds that the ALJ’s failure to discuss the evidence of

                                  25   vertigo in making the Step Two determination was reversible error. This is so even if the

                                  26   Commissioner is correct in asserting that the condition is retrospectively non-severe, which is by

                                  27   no means a sound conclusion. However, even a non-severe, though medically determined,

                                  28   condition would have needed to be factored into the ALJ’s Step Three analysis, as well as in the
                                                                                          8
                                           Case 1:17-cv-00004-RMI Document 33 Filed 02/14/18 Page 9 of 9




                                   1   formulation of the RFC. See Richard v. Colvin, No. C13-6055 RBL, 2015 WL 2085610, at *4

                                   2   (W.D. Wash. May 5, 2015) (“[Thus,] [t]he ALJ’s failure to address plaintiff’s [vertigo] at Step

                                   3   Two indicates that the ALJ may not have accounted for all of plaintiff’s impairments during

                                   4   subsequent steps of the sequential evaluation process.”). The court finds, therefore, that it cannot

                                   5   resolve the additional issues raised by Plaintiff until the error in the ALJ’s Step Two analysis is

                                   6   corrected. See Haverlock v. Colvin, No. 2:12-CV-2393-DAD, 2014 WL 670202, at *5 (E.D. Cal.

                                   7   Feb. 20, 2014) (“In light of the remand required by the ALJ’s error at Step Two, the court need not

                                   8   address plaintiff’s remaining claims.”). Accordingly, the case must be remanded for further

                                   9   proceedings.

                                  10                                             CONCLUSION

                                  11          For the reasons stated above, the court GRANTS Plaintiff’s motion for summary

                                  12   judgment, DENIES Defendant’s motion for summary judgment, and REMANDS this matter for
Northern District of California
 United States District Court




                                  13   further proceedings in accordance with this Order.

                                  14                  A separate judgment will issue.

                                  15          IT IS SO ORDERED.

                                  16   Dated: February 14, 2018

                                  17

                                  18
                                                                                                     ROBERT M ILLMAN
                                  19                                                                 United States Magistrate Judge
                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
                                                                                         9
